                   Caseto identify
 Fill in this information  18-08526-JJG-7A
                                   your case:                   Doc 1          Filed 11/08/18         EOD 11/08/18 15:17:12                        Pg 1 of 55
 United States Bankruptcy Court for the:

                Southern District of Indiana

 Case number (If known):                          Chapter you are filing under:
                                                  ✔
                                                  ❑         Chapter 7
                                                  ❑         Chapter 11
                                                  ❑         Chapter 12
                                                  ❑         Chapter 13                                                                       ❑Check if this is an
                                                                                                                                                amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                            12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                               About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your          Ashley
       government-issued picture               First name                                                       First name
       identification (for example, your
                                               Nichole
       driver’s license or passport).
                                               Middle name                                                      Middle name
       Bring your picture identification to    Pitts
       your meeting with the trustee.          Last name                                                        Last name


                                               Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                               First name                                                       First name
       Include your married or maiden
       names.                                  Middle name                                                      Middle name


                                               Last name                                                        Last name




                                               First name                                                       First name


                                               Middle name                                                      Middle name


                                               Last name                                                        Last name




  3.   Only the last 4 digits of your
                                              xxx - xx - 3         6       5   5                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer             OR                                                               OR
       Identification number                   9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                               Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
 Debtor 1       Case 18-08526-JJG-7A
                  Ashley       Nichole                     Doc 1 PittsFiled 11/08/18                 EOD 11/08/18  15:17:12 Pg 2 of 55
                                                                                                               Case number (if known)
                     First Name          Middle Name                  Last Name




                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          8015 N. Baltimore Road
                                          Number             Street                                           Number            Street




                                          Monrovia, IN 46157
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Morgan
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1      Case 18-08526-JJG-7A
                 Ashley       Nichole                   Doc 1 PittsFiled 11/08/18                 EOD 11/08/18  15:17:12 Pg 3 of 55
                                                                                                            Case number (if known)
                    First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1       Case 18-08526-JJG-7A
                  Ashley       Nichole                        Doc 1 PittsFiled 11/08/18                EOD 11/08/18  15:17:12 Pg 4 of 55
                                                                                                                 Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1       Case 18-08526-JJG-7A
                  Ashley       Nichole                      Doc 1 PittsFiled 11/08/18                  EOD 11/08/18  15:17:12 Pg 5 of 55
                                                                                                                 Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1      Case 18-08526-JJG-7A
                 Ashley       Nichole                      Doc 1 PittsFiled 11/08/18                  EOD 11/08/18  15:17:12 Pg 6 of 55
                                                                                                                Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ✔
                                                           ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?
                                             ✔
                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your assets to be worth?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ✔
                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your liabilities to be?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Ashley Nichole Pitts
                                         Ashley Nichole Pitts, Debtor 1
                                         Executed on 11/08/2018
                                                         MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1      Case 18-08526-JJG-7A
                 Ashley       Nichole                     Doc 1 PittsFiled 11/08/18                EOD 11/08/18  15:17:12 Pg 7 of 55
                                                                                                             Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Matthew M Cree                                                    Date 11/08/2018
                                                 Matthew M Cree, Attorney                                                    MM / DD / YYYY




                                                  Matthew M Cree
                                                 Printed name

                                                 Law Office of Matthew M. Cree, LLC
                                                 Firm name

                                                 1638 W Smith Valley Rd A
                                                 Number      Street



                                                 Greenwood                                                           IN       46142-1550
                                                 City                                                                State    ZIP Code



                                                 Contact phone (317) 695-1008                                     Email address matt@creelawoffice.com


                                                 27073-41                                                            IN
                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
                    Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                                              Doc 1             Filed 11/08/18                       EOD 11/08/18 15:17:12                                 Pg 8 of 55

  Debtor 1                         Ashley                         Nichole                    Pitts
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                           Southern District of Indiana

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                               $0.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                                 $6,315.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                           $6,315.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                       $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $30,885.00


                                                                                                                                                                  Your total liabilities                       $30,885.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $2,066.60


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $2,209.99




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                Case 18-08526-JJG-7A                        Doc 1         Filed 11/08/18             EOD 11/08/18 15:17:12                         Pg 9 of 55
 Debtor 1             Ashley                 Nichole                  Pitts                                               Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                         $2,962.50




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                $29,126.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                      $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $29,126.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                  page 2 of 2
                     Case 18-08526-JJG-7A
 Fill in this information to identify your case and this filing:
                                                                            Doc 1             Filed 11/08/18                      EOD 11/08/18 15:17:12                            Pg 10 of 55

  Debtor 1                          Ashley                       Nichole                    Pitts
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Southern District of Indiana
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ✔ No. Go to Part 2.
      ❑
      ❑ Yes. Where is the property?
                                                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              description
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                             ❑ Other                                                                     as fee simple, tenancy by the entireties, or a life
                                                                                                                                                         estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another                                        (see instructions)
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜                   $0.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
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                       Ashley      Nichole                                 Doc 1            Filed
                                                                                          Pitts           11/08/18                EOD 11/08/18  15:17:12 Pg 11 of 55
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                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Chevy                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                  Tahoe                     ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                  2005                      ❑ Debtor 1 and Debtor 2 only
            Year:
                                                                            ✔ At least one of the debtors and another
                                                                            ❑
                                                                                                                                                          Current value of the
                                                                                                                                                          entire property?
                                                                                                                                                                                      Current value of the
                                                                                                                                                                                      portion you own?
                                                  126000
            Approximate mileage:                                                                                                                                        $6,600.00                  $3,300.00
            Other information:                                              ❑Check if this is community property (see
                                                                                instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $3,300.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                   Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               2 beds, 2 couches, 2 end tables, 3 dressers, misc. linens, kitchen appliances, and household furnishings.
                                                                                                                                                                                                     $1,500.00

 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               TV                                                                                                                                                     $300.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                     page 2
 Debtor 1            Case 18-08526-JJG-7A
                        Ashley      Nichole                                            Doc 1              Filed
                                                                                                        Pitts             11/08/18                     EOD 11/08/18  15:17:12 Pg 12 of 55
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                               First Name                         Middle Name                            Last Name



 9. Equipment for sports and hobbies
       Examples:          Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                          carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:           Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Womens clothing.                                                                                                                                      $600.00



 12.    Jewelry
        Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      3 rings
                                                                                                                                                                                                            $300.00



 13.    Non-farm animals
        Examples:           Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      2 dogs.                                                                                                                                               $200.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                      $2,900.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.


 16.    Cash
        Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ✔ No
        ❑
        ❑ Yes........................................................................................................................................................   Cash..............




Official Form 106A/B                                                                                                     Schedule A/B: Property                                                          page 3
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                     Ashley      Nichole                         Doc 1     Filed
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                          First Name               Middle Name           Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                         Institution name:



                                       17.1. Checking account:            Citizens Bank                                                                   $100.00


                                       17.2. Checking account:


                                       17.3. Savings account:             Citizens Bank                                                                    $15.00


                                       17.4. Savings account:


                                       17.5. Certificates of deposit:


                                       17.6. Other financial account:


                                       17.7. Other financial account:


                                       17.8. Other financial account:


                                       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.




Official Form 106A/B                                                               Schedule A/B: Property                                               page 4
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                          First Name              Middle Name               Last Name



 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
                                       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.


 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑           Give specific information about         2018 | Interest in 2018 federal and state tax refunds                 Federal:                unknown
                   them, including whether you
                   already filed the returns and the                                                                             State:
                   tax years.......................
                                                                                                                                 Local:


 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement




Official Form 106A/B                                                                  Schedule A/B: Property                                            page 5
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                                                                                                                                                 Case number (if known)
                           First Name                      Middle Name                       Last Name



       ✔ No
       ❑
       ❑ Yes.       Give specific information..........
                                                                                                                                                                     Alimony:

                                                                                                                                                                     Maintenance:

                                                                                                                                                                     Support:

                                                                                                                                                                     Divorce settlement:

                                                                                                                                                                     Property settlement:


 30.   Other amounts someone owes you
       Examples:         Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                         Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.       Name the insurance company
                                                                           Company name:                                                             Beneficiary:                           Surrender or refund value:
                    of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                                 $115.00




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                          page 6
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                     Ashley      Nichole                                     Doc 1            Filed
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                           First Name                      Middle Name                       Last Name




 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                              claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                   $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                        page 7
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                                                                                                                                                 Case number (if known)
                           First Name                      Middle Name                       Last Name



 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                Current value of the
                                                                                                                                                                                portion you own?
                                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                   $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:         Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                    $0.00



 Part 8: List the Totals of Each Part of this Form



Official Form 106A/B                                                                                       Schedule A/B: Property                                                          page 8
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                            First Name                       Middle Name                          Last Name



 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜              $0.00


 56.   Part 2: Total vehicles, line 5                                                                                          $3,300.00


 57.   Part 3: Total personal and household items, line 15                                                                     $2,900.00


 58.   Part 4: Total financial assets, line 36                                                                                    $115.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                          $6,315.00            Copy personal property total➜     +   $6,315.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                         $6,315.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                       page 9
                Case 18-08526-JJG-7A                       Doc 1         Filed 11/08/18              EOD 11/08/18 15:17:12               Pg 19 of 55
 Fill in this information to identify your case:

  Debtor 1                    Ashley               Nichole             Pitts
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of Indiana

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 2005 Chevy Tahoe                                                           $3,300.00
                                                                                         ❑                 $3,300.00              Ind. Code § 34-55-10-2(c)(2)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


                                                                                         ✔
 Brief description:
 2 beds, 2 couches, 2 end tables, 3 dressers, misc.                         $1,500.00
                                                                                         ❑                 $1,500.00              Ind. Code § 34-55-10-2(c)(2)

 linens, kitchen appliances, and household furnishings.                                  ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:           6


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
               Case 18-08526-JJG-7A                     Doc 1      Filed 11/08/18            EOD 11/08/18 15:17:12                   Pg 20 of 55
 Debtor 1             Ashley              Nichole               Pitts                                            Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 TV                                                                     $300.00
                                                                                  ❑                 $300.00                  Ind. Code § 34-55-10-2(c)(2)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         7


                                                                                  ✔
 Brief description:
 Womens clothing.                                                       $600.00
                                                                                  ❑                 $600.00                  Ind. Code § 34-55-10-2(c)(2)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        11


                                                                                  ✔
 Brief description:
 3 rings                                                                $300.00
                                                                                  ❑                 $300.00                  Ind. Code § 34-55-10-2(c)(2)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        12


                                                                                  ✔
 Brief description:
 2 dogs.                                                                $200.00
                                                                                  ❑                 $200.00                  Ind. Code § 34-55-10-2(c)(2)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        13


                                                                                  ✔
 Brief description:
 Citizens Bank                                                          $100.00
                                                                                  ❑                 $100.00                  Ind. Code § 34-55-10-2(c)(3)

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Citizens Bank                                                           $15.00
                                                                                  ❑                 $15.00                   Ind. Code § 34-55-10-2(c)(3)

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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 Fill in this information to identify your case:
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  Debtor 1                       Ashley             Nichole             Pitts
                                 First Name         Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name         Middle Name        Last Name

  United States Bankruptcy Court for the:                         Southern District of Indiana

  Case number                                                                                                                                ❑   Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ❑
   ❑Yes. Fill in all of the information below.
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A               Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim        Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the      collateral that       portion
                                                                                                                      value of collateral.   supports this         If any
                                                                                                                                             claim
2.1                                                      Describe the property that secures the claim:
      Creditor's Name


      Number            Street
                                                         As of the date you file, the claim is: Check all that apply.

      City                            State   ZIP Code   ❑Contigent
      Who owes the debt? Check one.                      ❑Unlquidated
      ❑Debtor 1 only                                     ❑Disputed
      ❑Debtor 2 only                                     Nature of lien. Check all that apply.
      ❑Debtor 1 and Debtor 2 only                        ❑An agreement you made (such as mortgage or
      ❑At least one of the debtors and another                secured car loan)

      ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt                                  ❑Judgment lien from a lawsuit
      Date debt was incurred                             ❑Other (including a right to offset)
                                                         Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                                        $0.00




Official Form 106D                                       Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
 Debtor 1       Case 18-08526-JJG-7A
                   Ashley      Nichole                       Doc 1      Filed
                                                                      Pitts        11/08/18          EOD 11/08/18  15:17:12
                                                                                                                Case                Pg 22 of 55
                                                                                                                     number (if known)
                         First Name            Middle Name             Last Name


                                                                                                                        Column A               Column B              Column C
                Additional Page                                                                                         Amount of claim        Value of              Unsecured
  Part 1:
                After listing any entries on this page, number them beginning                                           Do not deduct the      collateral that       portion
                with 2.3, followed by 2.4, and so forth.                                                                value of collateral.   supports this         If any
                                                                                                                                               claim


 2.2                                                     Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                         As of the date you file, the claim is: Check all that apply.

       City                           State   ZIP Code   ❑Contigent
       Who owes the debt? Check one.                     ❑Unlquidated
       ❑Debtor 1 only                                    ❑Disputed
       ❑Debtor 2 only                                    Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another              secured car loan)

       ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                                 ❑Judgment lien from a lawsuit
       Date debt was incurred                            ❑Other (including a right to offset)
                                                         Last 4 digits of account number


       Add the dollar value of your entries in Column A on this page. Write that number here:                                          $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                            $0.00
       here:




Official Form 106D                              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 2
                Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                          Doc 1         Filed 11/08/18              EOD 11/08/18 15:17:12                      Pg 23 of 55

  Debtor 1                   Ashley                Nichole             Pitts
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Indiana

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
 Debtor 1          Case 18-08526-JJG-7A
                      Ashley      Nichole                    Doc 1        Filed
                                                                        Pitts       11/08/18          EOD 11/08/18  15:17:12 Pg 24 of 55
                                                                                                                 Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Franciscan Alliance, Inc. dba Franciscan Health                           Last 4 digits of account number 3655                                                unknown
        Mooresville
        Nonpriority Creditor's Name                                               When was the debt incurred?
        c/o Kevin D. Leahy, Reg. Agent                                            As of the date you file, the claim is: Check all that apply.

        1515 W Dragoon Trl
                                                                                  ❑ Contingent
        Number           Street                                                   ❑ Unliquidated
        Mishawaka, IN 46544-4710                                                  ❑ Disputed
        City                              State     ZIP Code                      Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one.                                         ❑ Student loans
        ✔
        ❑ Debtor 1 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only
                                                                                      divorce that you did not report as priority claims

        ❑ Debtor 1 and Debtor 2 only
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
                                                                                      similar debts
        ❑ At least one of the debtors and another                                 ✔ Other. Specify
                                                                                  ❑
        ❑ Check if this claim is for a community debt                                 Medical Services
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.2     IMC Credit Services, LLC                                                  Last 4 digits of account number 0320                                                     $360.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          08/01/2013
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 20636                                                              ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Indianapolis, IN 46220
        City                              State     ZIP Code
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      Collection agent for Emergency Physicians of
        Is the claim subject to offset?                                               Indianapolis
        ✔ No
        ❑
        ❑ Yes
4.3     IU Health                                                                 Last 4 digits of account number 3655                                                unknown
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        Attn: Bankruptcy Dept.
                                                                                  As of the date you file, the claim is: Check all that apply.
        250 N Shadeland Ave
        Number           Street
                                                                                  ❑ Contingent
        Indianapolis, IN 46219-4959
                                                                                  ❑ Unliquidated
        City                              State     ZIP Code                      ❑ Disputed
                                                                                  Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      Medical Services
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 6
                Case 18-08526-JJG-7A                        Doc 1     Filed 11/08/18             EOD 11/08/18 15:17:12                     Pg 25 of 55
 Debtor 1              Ashley                 Nichole               Pitts                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.4     Navient                                                             Last 4 digits of account number 0604                                         $29,126.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          06/01/2018
        Attn: Claims Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 9635
       Number           Street
                                                                            ❑   Contingent

        Wilkes Barr, PA 18773-9635
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only
                                                                            ✔
                                                                            ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.5     St. Vincent Hospital & Health                                       Last 4 digits of account number 3655                                          unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Attn: #12815W
                                                                            As of the date you file, the claim is: Check all that apply.
                                                                            ❑
        Po Box 14000
       Number           Street                                                  Contingent

        Belfast, ME 04915-4033                                              ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑
                                                                                Debts to pension or profit-sharing plans, and other
              At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          Medical Services
       ✔
       ❑      No
       ❑      Yes
4.6     Statewide Credit Association                                        Last 4 digits of account number 8332                                              $390.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          07/29/2015
        PO Box 20508
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Indianapolis, IN 46220
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Collection agent for Hendricks Regional Health

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3 of 6
                Case 18-08526-JJG-7A                        Doc 1     Filed 11/08/18            EOD 11/08/18 15:17:12                      Pg 26 of 55
 Debtor 1              Ashley                 Nichole               Pitts                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.7     Statewide Credit Association                                        Last 4 digits of account number 2915                                              $107.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/17/2015
        PO Box 20508
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Indianapolis, IN 46220
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Collection agent for Hendricks Regional Health

       ❑      Yes
4.8     Statewide Credit Association                                        Last 4 digits of account number 0828                                              $902.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          09/09/2016
        PO Box 20508
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Indianapolis, IN 46220
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Judgment in Cause No. 55D03-1607-SC-000828

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 6
              Case 18-08526-JJG-7A                       Doc 1        Filed 11/08/18             EOD 11/08/18 15:17:12                     Pg 27 of 55
 Debtor 1              Ashley              Nichole                 Pitts                                             Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        U.S. Department of Education                                  On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   4.4   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        Attn: Bankruptcy / Litigation
        400 Maryland Ave Sw                                                                       ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number 0604
        Washington, DC 20202-0001
       City                                  State      ZIP Code


        Hendricks Regional Health                                     On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   4.6   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        Attn: Billing Dept.
        1000 East Main Street                                                                     ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number reet
        Danville, IN 46122
       City                                  State      ZIP Code


        Emergency Physicians of Indianapolis                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        Po Box 7112                                                   Line   4.2   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Indianapolis, IN 46207-7112
       City                                  State      ZIP Code      Last 4 digits of account number 0320

        Hendricks Regional Health                                     On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   4.7   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        Attn: Billing Dept.
        1000 East Main Street                                                                     ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number 2915
        Danville, IN 46122
       City                                  State      ZIP Code


        St. Vincent Indianapolis                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   4.5   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        Attn: Bankruptcy Dept.
        Po Box 42008                                                                              ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number
        Phoenix, AZ 85080-2008
       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 5 of 6
                Case 18-08526-JJG-7A                      Doc 1          Filed 11/08/18     EOD 11/08/18 15:17:12                   Pg 28 of 55
 Debtor 1              Ashley               Nichole                Pitts                                       Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                              $0.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                               $0.00




                                                                                            Total claim


                   6f. Student loans                                              6f.                         $29,126.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                      $1,759.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                          $30,885.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
                   Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                            Doc 1         Filed 11/08/18             EOD 11/08/18 15:17:12                        Pg 29 of 55

     Debtor 1                   Ashley               Nichole             Pitts
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Southern District of Indiana

     Case number                                                                                                                             ❑     Check if this is an
     (if known)                                                                                                                                    amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                     page 1 of 1
                  Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                                   Doc 1      Filed 11/08/18          EOD 11/08/18 15:17:12                       Pg 30 of 55

  Debtor 1                        Ashley                  Nichole            Pitts
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Southern District of Indiana

  Case number                                                                                                                               ❑      Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                              page 1 of 1
                Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                            Doc 1       Filed 11/08/18                   EOD 11/08/18 15:17:12                  Pg 31 of 55

  Debtor 1                   Ashley                 Nichole            Pitts
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Southern District of Indiana                                     ❑An amended filing
                                                                                                                                  ❑A supplement showing postpetition
  Case number                                                                                                                           chapter 13 income as of the following date:
  (if known)

                                                                                                                                        MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                   Debtor 1                                         Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status               ✔Employed ❑Not Employed
                                                                               ❑                                                 ❑Employed ❑Not Employed
     attach a separate page with
     information about additional                                              Mental Health Clerk
     employers.
                                               Occupation
     Include part time, seasonal, or                                       Wexford of Indiana LLC
     self-employed work.                       Employer's name
                                                                           501 Holiday Dr
     Occupation may include student                                             Number Street                                    Number Street
                                               Employer's address
     or homemaker, if it applies.
                                                                           Foster Plaza 4




                                                                           Pittsburgh, PA 15220-2749
                                                                                City                     State    Zip Code       City                    State      Zip Code
                                               How long employed there? 3 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                             For Debtor 1    For Debtor 2 or
                                                                                                                             non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.                 2.               $2,895.26                    $0.00

 3. Estimate and list monthly overtime pay.                                                     3.   +               $0.00   +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                                4.               $2,895.26                    $0.00




Official Form 106I                                                              Schedule I: Your Income                                                                  page 1
 Debtor 1         Case 18-08526-JJG-7A
                     Ashley      Nichole                                       Doc 1             Filed
                                                                                               Pitts          11/08/18       EOD 11/08/18  15:17:12
                                                                                                                                        Case                Pg 32 of 55
                                                                                                                                             number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $2,895.26                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $596.35                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.               $57.90                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.              $174.41                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $828.66                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $2,066.60                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $2,066.60   +                $0.00        =       $2,066.60

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $2,066.60
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                               Doc 1           Filed 11/08/18         EOD 11/08/18 15:17:12                    Pg 33 of 55

  Debtor 1                   Ashley                   Nichole                Pitts
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                            Southern District of Indiana

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                               ✔Yes.
                                                                                                                                                  ❑No. ❑
                                                                                          Child                               16 Years
                                                                                                                                                       ✔Yes.
                                                                                                                                                  ❑No. ❑
                                                                                          Child                               15 Years
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                        $866.66


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1         Case 18-08526-JJG-7A
                     Ashley      Nichole                    Doc 1        Filed
                                                                       Pitts        11/08/18     EOD 11/08/18  15:17:12
                                                                                                            Case                Pg 34 of 55
                                                                                                                 number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                           Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                          6a.                     $150.00

       6b. Water, sewer, garbage collection                                                                        6b.                      $40.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                     $100.00

       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                      $433.33

 8.    Childcare and children’s education costs                                                                    8.                      $100.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                      $300.00

 10. Personal care products and services                                                                           10.                     $220.00

 11.   Medical and dental expenses                                                                                 11.                       $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                       $0.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $0.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                      $0.00
       15a. Life insurance
                                                                                                                   15b.                      $0.00
       15b. Health insurance
                                                                                                                   15c.                      $0.00
       15c. Vehicle insurance
                                                                                                                   15d.                      $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.

       17b. Car payments for Vehicle 2                                                                             17b.

       17c. Other. Specify:                                                                                        17c.

       17d. Other. Specify:                                                                                        17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00

       20b. Real estate taxes                                                                                      20b.                      $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00

Official Form 106J                                                               Schedule J: Your Expenses                                           page 2
 Debtor 1      Case 18-08526-JJG-7A
                  Ashley      Nichole                     Doc 1       Filed
                                                                    Pitts        11/08/18      EOD 11/08/18  15:17:12
                                                                                                          Case                Pg 35 of 55
                                                                                                               number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                             21.    +               $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.              $2,209.99

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                  $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.              $2,209.99


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.              $2,066.60

      23b. Copy your monthly expenses from line 22c above.                                                       23b.   –           $2,209.99

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                 23c.               ($143.39)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                        page 3
                 Case 18-08526-JJG-7A
 Fill in this information to identify your case:
                                                          Doc 1         Filed 11/08/18             EOD 11/08/18 15:17:12                     Pg 36 of 55

  Debtor 1                   Ashley                Nichole             Pitts
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Indiana

  Case number                                                                                                                             ❑    Check if this is an
  (if known)                                                                                                                                   amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                   12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                 . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                          (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Ashley Nichole Pitts
        Ashley Nichole Pitts, Debtor 1, Debtor 1                         ✘
        Date 11/08/2018                                                        Date
                MM/ DD/ YYYY                                                          MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                Case 18-08526-JJG-7A                      Doc 1          Filed 11/08/18               EOD 11/08/18 15:17:12           Pg 37 of 55
 Fill in this information to identify your case:

  Debtor 1                   Ashley                Nichole              Pitts
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Southern District of Indiana

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                         From
    Number      Street                                                                     Number     Street
                                                             To                                                                           To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                         From
    Number      Street                                                                     Number     Street
                                                             To                                                                           To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
               Case 18-08526-JJG-7A                      Doc 1            Filed 11/08/18          EOD 11/08/18 15:17:12                      Pg 38 of 55
Debtor 1            Ashley               Nichole                  Pitts                                               Case number (if known)
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $28,431.98            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $30,979.00            bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $26,440.00            bonuses, tips
    (January 1 to December 31, 2016         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
               Case 18-08526-JJG-7A                            Doc 1         Filed 11/08/18          EOD 11/08/18 15:17:12                     Pg 39 of 55
Debtor 1            Ashley                     Nichole               Pitts                                                Case number (if known)
                    First Name                 Middle Name            Last Name


    For last calendar year:
    (January 1 to December 31, 2017             )
                                        YYYY




    For the calendar year before that:
    (January 1 to December 31, 2016             )
                                        YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                             payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                             payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                             this bankruptcy case.

                                                                Dates of            Total amount paid           Amount you still owe        Was this payment for…
                                                                payment

                                                                                                                                          ❑Mortgage
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                      State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 3
                 Case 18-08526-JJG-7A                     Doc 1            Filed 11/08/18             EOD 11/08/18 15:17:12                     Pg 40 of 55
Debtor 1            Ashley                Nichole                  Pitts                                                Case number (if known)
                    First Name             Middle Name               Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case

                                                    Small Claims / Collection
    Case title       Statewide Credit
                     Association, Inc. v. Ashley
                                                                                                Morgan Superior Court No. 3                      ❑Pending
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
                     Pitts
                                                                                                Main Courthouse
                                                                                                                                                 ✔Concluded
                                                                                                                                                 ❑
    Case number 55D03-1607-SC-000828                                                            10 E Washington St
                                                                                               Number       Street
                                                                                                Martinsville, IN 46151-1525
                                                                                               City                       State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4
               Case 18-08526-JJG-7A                        Doc 1          Filed 11/08/18           EOD 11/08/18 15:17:12                  Pg 41 of 55
Debtor 1            Ashley                 Nichole                Pitts                                            Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                    Date            Value of the property



    Creditor’s Name


    Number      Street                                              Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
               Case 18-08526-JJG-7A                           Doc 1          Filed 11/08/18          EOD 11/08/18 15:17:12                 Pg 42 of 55
Debtor 1             Ashley                   Nichole                Pitts                                            Case number (if known)
                     First Name               Middle Name             Last Name

     Gifts with a total value of more than $600 per           Describe the gifts                                          Dates you gave       Value
     person                                                                                                               the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                              State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that       Describe what you contributed                                    Date you              Value
     total more than $600                                                                                            contributed



    Charity’s Name




    Number      Street



    City                      State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and           Describe any insurance coverage for the loss                      Date of your loss      Value of property lost
     how the loss occurred                        Include the amount that insurance has paid. List pending
                                                  insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
              Case 18-08526-JJG-7A                       Doc 1              Filed 11/08/18     EOD 11/08/18 15:17:12                  Pg 43 of 55
Debtor 1            Ashley                Nichole                   Pitts                                        Case number (if known)
                    First Name            Middle Name               Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred              Date payment or      Amount of payment
     Law Office of Matthew M. Cree, LLC                                                                         transfer was made
    Person Who Was Paid                         Attorney’s Fee
                                                                                                               Sep 26, 2018                     $1,600.00
     1638 W Smith Valley Rd A
    Number     Street




     Greenwood, IN 46142-1550
    City                     State   ZIP Code
    www.creelawoffice.com
    Email or website address


    Person Who Made the Payment, if Not You


                                                 Description and value of any property transferred              Date payment or      Amount of payment
     Debt Education and Certification                                                                           transfer was made
     Foundation                                 Pre-filing course
    Person Who Was Paid                                                                                        Oct 09, 2018                        $25.00
     112 Goliad Street
    Number     Street




     Fort Worth, TX 76126
    City                     State   ZIP Code
    www.bkcert.com
    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of any property transferred              Date payment or      Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                     State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
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Debtor 1            Ashley                Nichole               Pitts                                             Case number (if known)
                    First Name            Middle Name            Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                     State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of the property transferred                                            Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
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Debtor 1            Ashley                Nichole                  Pitts                                             Case number (if known)
                    First Name            Middle Name              Last Name

                                                    Last 4 digits of account number           Type of account or      Date account was          Last balance
                                                                                              instrument              closed, sold, moved, or   before closing or
                                                                                                                      transferred               transfer

    Name of Financial Institution
                                                    XXXX–                                     ❑Checking
                                                                                              ❑Savings
    Number      Street
                                                                                              ❑Money market
                                                                                              ❑Brokerage
                                                                                              ❑Other
    City                     State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Who else had access to it?                      Describe the contents                      Do you still have
                                                                                                                                                it?

                                                                                                                                                ❑No
    Name of Financial Institution                   Name
                                                                                                                                                ❑Yes

    Number      Street                              Number     Street



                                                    City                   State   ZIP Code

    City                     State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Who else has or had access to it?               Describe the contents                      Do you still have
                                                                                                                                                it?

                                                                                                                                                ❑No
    Name of Storage Facility                        Name
                                                                                                                                                ❑Yes

    Number      Street                              Number     Street



                                                    City                   State   ZIP Code

    City                     State   ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
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Debtor 1            Ashley                Nichole                  Pitts                                                 Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Where is the property?                             Describe the property                            Value


    Owner's Name
                                                    Number     Street


    Number     Street

                                                    City                       State   ZIP Code


    City                     State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Governmental unit                             Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                     State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



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Debtor 1             Ashley                 Nichole                   Pitts                                                Case number (if known)
                     First Name             Middle Name               Last Name

                                                      Governmental unit                          Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                      State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Court or agency                            Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                       Describe the nature of the business                         Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                       Name of accountant or bookkeeper                            Dates business existed

                                                                                                                    From                 To

    City                      State   ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 11
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Debtor 1            Ashley                  Nichole                    Pitts                                         Case number (if known)
                    First Name              Middle Name                Last Name



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                        Date issued



    Name                                              MM / DD / YYYY



    Number        Street




    City                     State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
  correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘                        /s/ Ashley Nichole Pitts                           ✘
           Signature of Ashley Nichole Pitts, Debtor 1                             Signature of


           Date 11/08/2018                                                          Date




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                            Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
                Case 18-08526-JJG-7A
 Fill in this information to identify your case:
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  Debtor 1                   Ashley                Nichole             Pitts
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Indiana

  Case number                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral                 What do you intend to do with the property that secures a Did you claim the property as
                                                                               debt?                                                     exempt on Schedule C?




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1     Case 18-08526-JJG-7A
                 Ashley      Nichole                      Doc 1     Filed
                                                                  Pitts       11/08/18         EOD 11/08/18  15:17:12
                                                                                                          Case                Pg 50 of 55
                                                                                                               number (if known)
                      First Name            Middle Name           Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                     /s/ Ashley Nichole Pitts                    ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 11/08/2018                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
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B2030 (Form 2030)(12/15)


                                                  United States Bankruptcy Court
                                                          Southern District of Indiana
In re
Pitts, Ashley Nichole                                                                                              Case No.
                                                                                                                   Chapter         7
Debtor(s)

                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
           For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $1,600.00
           Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                         $1,600.00
           Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $0.00

2.   The source of the compensation to be paid to me was:
           ✔
           ❑    Debtor                               ❑    Other (specify)

3.   The source of compensation to be paid to me is:
           ✔
           ❑    Debtor                               ❑    Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     ❑
     associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
       Case 18-08526-JJG-7A           Doc 1     Filed 11/08/18        EOD 11/08/18 15:17:12          Pg 52 of 55
                                                    CERTIFICATION
                     I certify that the foregoing is a complete statement of any agreement or
                  arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                  proceeding.

                  11/08/2018                       /s/ Matthew M Cree
                  Date                                 Signature of Attorney

                                                   Law Office of Matthew M. Cree, LLC
                                                      Name of law firm



Date: 11/8/2018                                     /s/ Ashley Nichole Pitts
                                                    Pitts, Ashley Nichole
       Case 18-08526-JJG-7A                      Doc  1 UNITED
                                                  IN THE FiledSTATES
                                                               11/08/18    EODCOURT
                                                                     BANKRUPTCY 11/08/18 15:17:12                                    Pg 53 of 55
                                                            SOUTHERN DISTRICT OF INDIANA
                                                                INDIANAPOLIS DIVISION

IN RE: Pitts, Ashley Nichole                                                                 CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date        11/08/2018             Signature                                    /s/ Ashley Nichole Pitts
                                                                              Ashley Nichole Pitts, Debtor
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                                Emergency Physicians of
                                Indianapolis
                                Po Box 7112
                                Indianapolis, IN 46207-7112



                                Franciscan Alliance, Inc. dba
                                Franciscan Health Mooresville
                                c/o Kevin D. Leahy, Reg. Agent
                                1515 W Dragoon Trl
                                Mishawaka, IN 46544-4710


                                Hendricks Regional Health
                                Attn: Billing Dept.
                                1000 East Main Street
                                Danville, IN 46122



                                IMC Credit Services, LLC
                                Attn: Bankruptcy
                                PO Box 20636
                                Indianapolis, IN 46220



                                IU Health
                                Attn: Bankruptcy Dept.
                                250 N Shadeland Ave
                                Indianapolis, IN 46219-4959



                                Navient
                                Attn: Claims Dept
                                PO Box 9635
                                Wilkes Barr, PA 18773-9635



                                St. Vincent Hospital & Health
                                Attn: #12815W
                                Po Box 14000
                                Belfast, ME 04915-4033



                                St. Vincent Indianapolis
                                Attn: Bankruptcy Dept.
                                Po Box 42008
                                Phoenix, AZ 85080-2008
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                                Statewide Credit Association
                                PO Box 20508
                                Indianapolis, IN 46220




                                U.S. Department of Education
                                Attn: Bankruptcy / Litigation
                                400 Maryland Ave Sw
                                Washington, DC 20202-0001
